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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                                           ORDER

       At the hearing to address Defendant Thomas Caldwell’s Rule 29 Motion, scheduled for

Monday, May 22 at 10:00 a.m., counsel shall be prepared to address the following two questions:

       1.) With respect to Defendant Caldwell’s conviction for Obstruction of an Official

          Proceeding in violation of 18 U.S.C. § 1512(c)(2), which acts constitute independent

          unlawful conduct in order to satisfy the requirement that a defendant act “corruptly”?

       2.) With respect to Defendant Caldwell’s conviction for Tampering with Documents or

          Proceedings in violation of 18 U.S.C. § 1512(c)(1), has the government established the

          requisite nexus between the obstructive conduct and a foreseeable grand jury

          proceeding, as opposed to an FBI investigation? See United States v. Aguilar, 515

          U.S. 593 (1995); United States v. Young, 916 F.3d 368 (4th Cir. 2019).




                                                          Amit P. Mehta
Date: May 18, 2023                                 United States District Court Judge
